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EXHIBIT U
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

re X MDL NO. 1456

IN RE: PHARMACEUTICAL INDUSTRY : CIVIL ACTION:

AVERAGE WHOLESALE PRICE LITIGATION : 01-CV-12257-PBS

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THIS DOCUMENT RELATES TO:

U.S. ex rel. Ven-A-Care of the : CIVIL ACTION:
Florida Keys, Inc. v. Abbott : 06-CV-11337-PBS
Laboratories, Inc.

Hoo ee ee eee ee ee eee eee x

IN THE CIRCUIT COURT OF

MONTGOMERY COUNTY, ALABAMA

wee ee ee ee eee xX

STATE OF ALABAMA, : CASE NO.
Plaintiff, > CV-05-219

Vv.

ABBOTT LABORATORIES, INC., : JUDGE

et al., : CHARLES PRICE
Defendants.

ween ee ee eee xX

Deposition of DAVID TAWES, Volume III

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there wasn't an F drive.

Q. And do you know what the source was of
the catalog information that was compiled for the
1997 report that's been labeled Abbott Exhibit 002?

MR. WINGET-HERNANDEZ: Objection, form.
THE WITNESS: We received drug pricing
catalogs from Ven-A-Care.
BY MR. GORTNER:

Q. Do you know if the entire report was
based upon information that you received from
Ven-A-Care?

A. I don't know.

Q. Do you have any reason to believe that
the prices that are documented in Roxane Exhibit
013 and Roxane Exhibit 014 were not received from
Ven-A-Care?

A. No.

Q. I'm going to hand you what's been
previously marked as Roxane Exhibit 002. This
particular version will not have the designation of
Roxane Exhibit 002, but it, in fact, was marked as

Roxane Exhibit 002. And I prefer not to mark

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identical copies with different exhibit numbers.

For the record, this is a document
Bates labeled HHD009-0977 through 0981.

At the top of the document, there is
a title that states: Excessive Medicare
reimbursement for prescription drugs and has a
paren with the actual number of the report, and
then it says: Information compiled from Ven-A-Care
exhibits.

Could you flip through this document
quickly, Mr. Tawes, and let me know whether you

recognize it?

A. No, I do not recognize it.

Q. This isn't a document that you worked on?
A. No.

Q. But this was a document that was located

in the working files of this 1997 report? TI will

represent to you that that's what we were informed.

A. Okay.
Q. The document appears to contain a variety
of pricing information on several drugs. I would

ask you to kind of look over the drugs on this

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document, and let me know if they correspond with
the drugs that were, in fact, reported on in the
December 1997 Office of Inspector General report.

A. Yes, they are.

Q. In particular, I would like you to turn
to Page 4 of this document that's Bates labeled
HHDO009-0980.

A. (Witness complies.)

Q. Do you see that there is a listing there
for Ipratropium Bromide?

A. Yes.

Q. Do you see that? And it appears to list
three different NDCs.

Do you see that?

A. Yes. Actually, it is three of the same
NDCs.

Q. I'm sorry, you are correct, three NDCs.
But under the column entitled Ven-A-Care, do you
see that there are three entries on the row? One
row reads PC, one row reads IV med, and one reads
HSCA, do you see that?

A. Yes.

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Q. And do you have any idea what that stands
for?

A. It would look like that it is the
catalogs or the pricing source.

Q. And would you characterize those as three
different pricing sources?

A. I can't say for sure whether any of those
are related or not.

Q. And then you can see that if you follow
the rows off further to the right, there is a
column that reads NDC, and there are three prices
there. Do you see that, $31.13?

A. Yes.

Q. Would that suggest to you that here, the
Office of Inspector General, in fact, had compiled
the pricing on Ipratropium Bromide for these NDCs
from Ven-A-Care?

A. Yes.

Q. Do you know whether the Office of
Inspector General, in its normal course of duties,
prepares sheets like this that compile information

that they receive on drug prices?

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testified to this before, that you have not done a
study of utilization of particular drugs as a
function of AWP prices, have you?

A. No.

Q. And is it correct to say that you have

never worked in a pharmacy?

A. No. Sorry. I have not worked in a
pharmacy.
Q. I twisted that one up on you a little

bit.

Would it also be correct to say that
you, as part of your responsibilities for the OIG,
you have never done a study to determine how
pharmacies actually acquire the drugs that they
dispense?

A. Correct.

Q. Now, there has been a lot of testimony
and conversation about Ven-A-Care -- I will try and
say it right -- Ven-A-Care of the Florida Keys. And
I don't want to go through all of that again, but
it is correct to say that Ven-A-Care provided

pricing information for a number of the reports

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that we have looked at; correct?

A. Either provided the pricing information
or provided us access to get the pricing
information.

Q. And when you say provided the pricing
information, you are talking about the catalogs
that Ven-A-Care provided; correct?

A. Yes.

Q. Did they provide catalogs on just one

occasion that you are aware of or was it multiple

occasions?
A. Multiple occasions.
Q. Do you know when the first time

Ven-A-Care provided pricing catalogs?
A. No.

Q. Are they still providing pricing catalogs

to you?
A. No.
Q. Do you still -- I understand the other

source of information that they have given you is
access to on-line pharmacy prices; correct?

A. Yes.

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against First Databank?
A. No.
Q. What is your understanding of how the DOJ
AWPs were calculated?
A. They were calculated based on information

provided by Ven-A-Care.

Q. Do you know what information -- and
provided by whom -- sorry, provided by Ven-A-Care
to whom?

A. I don't know.

Q. Do you know what information Ven-A-Care

provided that formed the basis of the DOJ AWPs?

A. Catalog prices.

Q. Do you believe that the information that
Ven-A-Care provided that form the basis of the DOJ
AWPs was the same information that you utilized in
publishing your reports?

A. I don't know.

Q. Did you ever have any conversations with
anyone at the DOJ regarding those DOJ AWPs?

A. Not that I recall.

Q. Do you know if the DOJ AWPs were based on

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purchasing organizations?

A. Not that I know of.

Q. Do you know whether Ven-A-Care ever
provided you or your office, anyone else at OIG
with pricing information from group purchasing
organizations?

A. Yes, they did.

Q. And was that information otherwise not
available to OIG?

MS. TORGERSON: Objection to form.
THE WITNESS: I don't believe that
it would have been.
BY MR. AZORSKY:

Q. You indicated earlier that Ven-A-Care
provided OIG with access to on-line wholesaler
prices; is that correct?

A. Yes.

Q. And by providing access to those on-line
wholesaler prices, do you mean to say that those
prices were password-protected?

A. Yes.

Q. And without a password, OIG did not have

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BY MR. AZORSKY:

Q. And to your knowledge, did Ven-A-Care
provide McKesson's pricing sheets for prices of
pharmaceuticals to pharmaceutical providers, did
they provide those sheets to OIG?

A. Yes.

Q. And in fact, generally, the prices that
Ven-A-Care provided to OIG to your knowledge
consisted of confidential prices that were not
accessible, unless it came from an industry
insider; is that correct?

MR. GABEL: Objection.

MR. GORTNER: Objection, form.

MS. TORGERSON: Objection.

MS. REID: Objection.

THE WITNESS: Yes.

MR. AZORSKY: I have no further
questions.

THE VIDEO TAPE OPERATOR: Off the
video, 2:06.

THE VIDEO TAPE OPERATOR: Back on the

video, 2:06.

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